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                                                                              13    Company, erroneously named as The
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                                                                                    Travelers Indemnity Company dba The
                                             Henderson, Nevada 89052




                                                                              14    Travelers Home and Marine Insurance
                                                                                    Company
                                                                              15
                                                                                                             UNTITED STATES DISTRICT COURT
                                                                              16                                      DISTRICT OF NEVADA
                                                                              17
                                                                                    TAEKKEUN YOON, an individual; SU JUNG              CASE NO. 2:20-cv-01507-JCM-EJY
                                                                              18    KIM, an individual,
                                                                              19                        Plaintiffs,                       STIPULATION AND ORDER
                                                                              20                                                            EXTENDING TIME FOR
                                                                                    v.                                                 DEFENDANT THE STANDARD FIRE
                                                                              21                                                      INSURANCE COMPANY TO FILE ITS
                                                                                    THE TRAVELERS INDEMNITY COMPANY,
                                                                                                                                      REPLY IN SUPPORT OF ITS MOTION
                                                                              22    dba TRAVELERS HOME AND MARINE
                                                                                                                                           TO DISMISS [ECF NO. 6]
                                                                                    INSURANCE COMPANY, a Connecticut
                                                                              23    Corporation; DOES I through XV, and ROE
                                                                                    Corporations I through X, inclusive,
                                                                              24
                                                                                                       Defendants.
                                                                              25
                                                                              26
                                                                                          IT IS HEREBY STIPULATED AND AGREED by Plaintiffs Taekkeun Yoon and Su Jung
                                                                              27
                                                                                   Kim (“Plaintiffs”) and Defendant The Standard Fire Insurance Company (“Standard Fire”), by and
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                                                                               1   through their respective counsel, that the time for Standard Fire to file and serve its Reply in support
                                                                               2   of its Motion to Dismiss Plaintiffs’ Complaint (ECF No. 6) be extended for two (2) weeks through
                                                                               3   and including Monday, November 2, 2020.
                                                                               4          Pursuant to Fed. R. Civ. P. 6(b)(1)(A) and Local Rule IA 6-1(a), Standard Fire represents
                                                                               5   that points and authorities presented in Plaintiffs’ response require additional time to review and to
                                                                               6   present an adequate and thorough counter-argument and supporting authorities. Further, with the
                                                                               7   necessities of working remotely due to the ongoing COVID-19 pandemic, additional time is
                                                                               8   required for counsel to prepare its Reply and to obtain client review and approval of the Reply.
                                                                               9          Accordingly, the Plaintiffs and Standard Fire hereby agree and stipulate to allow Standard
                                                                              10   Fire until November 2, 2020, to file its Reply in support of its Motion to Dismiss. Further, the
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                                                                              11   parties respectfully request this honorable Court enter an Order providing the same.
                                                                              12   DATED: October 16, 2020                                DATED: October 16, 2020
                                                                              13
                                        2200 Paseo Verde Parkway, Suite 280




                                                                                   THE LAW FIRM OF PARKE ESQUIRE                          FORAN GLENNON PALANDECH PONZI
                                             Henderson, Nevada 89052




                                                                              14                                                          & RUDLOFF PC

                                                                              15   By: _/s/ Jose Valenzuela______________/                By: ___/s/ Dylan P. Todd                     /
                                                                                   Jose E. Valenzuela III, Esq. (NV Bar No. 12510)        Amy M. Samberg (NV Bar No. 10212)
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                                                                              18                                                          Dylan P. Todd (NV Bar No. 10456)
                                                                                   Attorneys for Plaintiffs                               Lee H. Gorlin (NV Bar No. 13879)
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                                                                                                                                          Henderson, NV 89052
                                                                              20
                                                                              21                                                          Attorneys for Standard Fire Insurance
                                                                                                                                          Company, erroneously named as The
                                                                              22                                                          Travelers indemnity Company dba The
                                                                                                                                          Travelers Home and Marine Insurance
                                                                              23                                                          Company
                                                                              24          IT IS SO ORDERED:
                                                                              25
                                                                                                                          _________________________________________
                                                                              26                                          UNITED STATES DISTRICT JUDGE

                                                                              27                                          DATED: October  19, 2020
                                                                                                                                 October ___, 2020.
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                                                                               1                                 CERTIFICATE OF SERVICE
                                                                               2          I certify that a copy of the foregoing STIPULATION AND ORDER EXTENDING
                                                                               3   TIME FOR DEFENDANT THE STANDARD FIRE INSURANCE COMPANY TO FILE
                                                                               4   ITS REPLY IN SUPPORT OF ITS MOTION TO DISMISS [ECF NO. 6] was served by the
                                                                               5   method indicated:
                                                                               6           BY FAX: by transmitting via facsimile the document(s) listed above to the fax number(s)
                                                                                   տ
                                                                               7           set forth below on this date before 5:00 p.m. pursuant to EDCR Rule 7.26(a). A printed
                                                                                           transmission record is attached to the file copy of this document(s).
                                                                               8           BY U.S. MAIL: by placing the document(s) listed above in a sealed envelope with
                                                                               9           postage thereon fully prepaid, in the United States mail at Las Vegas, Nevada addressed
                                                                                           as set forth below.
                                                                              10           BY ELECTRONIC SERVICE: submitted to the above-entitled Court for electronic
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                                                                                   :
                                                                              11           service upon the Court’s Registered Service List for the above-referenced case.
                                                                                           BY EMAIL: by emailing a PDF of the document listed above to the email addresses of
                                                                              12           the individual(s) listed below.
                                                                              13
                                        2200 Paseo Verde Parkway, Suite 280




                                                                                   DATED: October 16, 2020.
                                             Henderson, Nevada 89052




                                                                              14
                                                                              15
                                                                                                                                  /s/ Darhyl Kerr
                                                                              16                                             An Employee of Foran Glennon

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